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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA

IN RE:                                    )
                                          )       B/K Case No. 19-00508
Audrey Moran                              )
                                          )       Chapter 7
                                          )
                     Debtor.              )

     APPLICATION TO EMPLOY REAL ESTATE BROKER AND LOCAL LISTING AGENT

      The Application of Kevin Campbell, Trustee in Bankruptcy for the Estate of the
above-captioned Debtor, respectfully represents that:

   1. Your Applicant is the duly appointed, qualified and acting Trustee for the Estate of
      the Debtor in the above-captioned matter.

   2. Your Applicant desires to employ and retain BK Global Real Estate Services
      (“BKRES”), whose address is 1095 Broken Sound Parkway, N.W., Suite 100, Boca
      Raton, FL 33487 and whose telephone number is (561) 206-0067, to represent him
      as a Real Estate Broker in the sale of the Debtor’s real property located 212 LAKE
      AVE SAINT JAMES, NY 11780 (the “Property”).

   3. Your Applicant desires to employ and retain EXP REALTY whose address is 400
      Townline Rd., Ste 145, Hauppauge, NY 11788 and whose telephone number is
      (631)278-6987 to represent him as the licensed Local Listing Agent in the sale of
      the Property.

   4. BK GLOBAL Real Estate Services (BKRES) is the primary broker and EXP REALTY is
      the local licensed Listing Agent. BKRES prepares the listing agreement, including the
      requirement that the property must be sold with the approval of the Bankruptcy
      Court "as is, where is", without any warranties whatsoever, by quitclaim deed.
      BKRES advises the Trustee as to what the property should list for and what it may
      sell for, considering the subject property and the short sale lender’s requirements;
      as well as recommends the additional amount the buyers should pay to be used for
      the trustee’s compensation and expenses and to make a meaningful distribution to
      the unsecured creditors.

   5. The property is then marketed by EXP REALTY as the local Listing Agent. The local
      Listing Agent provides local area knowledge and the availability of the Multiple
      Listing Service (MLS). This combination leads to optimal results.

   6. Any contract will be reviewed by BKRES before being submitted to the Trustee for
      his approval. Once there is a ratified contract, BKRES will submit the contract to the
      lender to negotiate short sale approval at no cost to the estate.
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   7. Your Applicant desires to compensate BKRES by paying a commission in the amount
      of six percent (6%) of the sales price obtained on the subject residential property to
      be paid upon closing of any transaction wherein the real estate agent performs such
      services. BKRES will pay Referral Realty US LLC from its 6% commission.

   8. Your Applicant is informed and believes that both BKRES and EXP REALTY are
      disinterested parties within the meaning of that term as it is used in §101(14) of the
      Bankruptcy Code.

   9. Your Applicant is informed and believes that BKRES and EXP REALTY have no
      connection with the Debtor, any creditors of the estate, any other party in interest,
      their respective attorneys and accountants, the United States Trustee, or any person
      employed in the Office of the United States Trustee.

      WHEREFORE, your Applicant asks that the Court enter an Order authorizing him to
employ BKRES as his Real Estate Broker and EXP REALTY as his local Listing Agent.


                                           /s/ Kevin Campbell
                                           KEVIN CAMPBELL, Trustee
                                           Post Office Box 684
                                           Mt. Pleasant, South Carolina 29465
MT. PLEASANT, SOUTH CAROLINA               (843) 884-6874 / 884-0997 (fax)
Dated: April 2, 2019                       kcampbell@campbell-law-firm.com
                                           District Court I.D. 30
